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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                CHARLESTON DIVISION

IN RE: ETHICON, INC. PELVIC REPAIR                                  Master File No. 2:12-MD-02327
SYSTEMS PRODUCTS LIABILITY                                                     MDL 2327
LITIGATION
------------------------------------------------------
ETHICON WAVE 6 CASES LISTED IN
EXHIBIT A                                                       JOSEPH R. GOODWIN U.S. DISTRICT
                                                                            JUDGE

                  NOTICE OF ADOPTION OF PRIOR DAUBERT MOTION OF
                          JOYE K. LOWMAN, M.D. FOR WAVE 6

         Comes now, the Plaintiffs, and hereby adopt and incorporate by reference the Daubert motion

filed against Joye K. Lowman for Ethicon Waves 1 and 2, Dkts. 2061 and 2449 (motions), 2067 and

2452 (memorandums in support). Plaintiffs respectfully request that the Court exclude Joye K.

Lowman’s testimony, for the reasons expressed in the Waves 1 and 2 briefing. This notice applies to

the following Wave 6 cases identified in Exhibit A attached hereto.

Dated: October 20, 2017                                  Respectfully submitted,

                                                         /s/ D. Renee Baggett
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                                 EXHIBIT A

DeFriece, Brenda K. & Larry W.    2:12-cv-09268
Hamlin, Teresa                    2:13-cv-00522




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                               CERTIFICATE OF SERVICE

       I hereby certify that on October 20, 2017, I electronically filed the foregoing document

with the Clerk of the court using CM/ECF system which will send notification of such filing to

the CM/ECF participants registered to receive service in this MDL.



                                            /s/ D. Renee Baggett_______________
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